     Case 4:20-cr-00269-Y Document 24 Filed 05/19/21            Page 1 of 2 PageID 211



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
________________________________________________________________________
UNITED STATES OF AMERICA

v.                                                      NO. 4:20-CR-269-Y
ERIC PRESCOTT KAY




                              NOTICE OF APPEARANCE OF COUNSEL

                  The United States Attorney for the Northern District of Texas respectfully

advises the Court and all interested parties that, in addition to Assistant United States

Attorney for the Northern District of Texas Lindsey Beran, Assistant United States

Attorney for the Northern District of Texas, Errin Martin, has been assigned to this

matter.

         ACCORDINGLY, the Clerk of the Court is hereby requested to add Errin Martin

as counsel of record for the United States.

                                                    Respectfully submitted,

                                                    PRERAK SHAH
                                                    United States Attorney

                                                       s/ Errin Martin
                                                    Errin Martin
                                                    Assistant United States Attorney
                                                    Texas Bar No. 24032572
                                                    1100 Commerce Street, Suite 300
                                                    Dallas, Texas 75242
                                                    Phone: 214/659-86000

Notice of Appearance of Counsel - Page 1
    Case 4:20-cr-00269-Y Document 24 Filed 05/19/21                  Page 2 of 2 PageID 212




                                           Certificate of Service

I hereby certify that on May 19, 2021, a copy of the foregoing was served on counsel for
Defendant Eric Kay via CM/ECF.


                                                            s/ Errin Martin
                                                         Errin Martin
                                                         Assistant United States Attorney




Notice of Appearance of Counsel - Page 2
